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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                         )
                                                  )   Case No.: 22-cr-148
               Plaintiff,                         )
                                                  )
vs.                                               )
                                                  )   CONSENT MOTION TO CONTINUE
RILEY KASPER,                                     )   STATUS CONFERENCE AND TO
                                                  )   EXCLUDE TIME UNDER THE SPEEDY
               Defendant.                         )   TRIAL ACT


       Defendant, through counsel, with the consent of the United States of America (the

“government”), hereby respectfully moves this Court for a continuance of the status conference,

currently set for May 19, 2023 at 12:30 p.m. via Zoom. Also, with consent of the government, the

Defendant moves to exclude the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., until the date of the next status hearing. In support of this

consent motion the Defendant states as follows:

       1.      On April 29, 2022, Mr. Kasper was charged by Indictment with various offenses

stemming from the riots at the United States Capitol on January 6, 2021. On March 24, 2022, Mr.

Kasper made his initial appearance before this Honorable Court and was released on conditions of

pretrial release. Mr. Kasper has pleaded not guilty. The under-signed filed his appearance on

February 9, 2023.

       2.       A status conference is scheduled for May 19, 2023 at 12:30 p.m. via Zoom before

Judge Royce C. Lamberth.

       3.      The parties last convened before this Court on February 10, 2023. Since then, the

undersigned has continued to review the voluminous discovery provided by the government with


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Mr. Kasper. Additionally, the undersigned has continued to meet with Mr. Kasper since his

appointment. In order to permit Mr. Kasper an opportunity to determine whether or not he wishes

to take his case to trial, and in order to permit the parties more time to determine whether a plea

agreement can be reached, Mr. Kasper seeks a continuance of the status conference by

approximately 30 days or another day thereafter at the Court’s convenience.

       4.      Additionally, the Defendant advises the Court that the parties began to engage in

plea negotiations before the last scheduled status conference (April 20, 2023), and that the parties

continue to engage in plea negotiations in an effort to resolve the instant cause short of trial. Plea

negotiations remain ongoing.

       5.      Undersigned contacted counsel for the government in this matter, Christopher

Brunwin, and is authorized to state that the government consents to the relief requested in this

motion.

       6.      The need for reasonable time to address discovery obligations is among multiple

pretrial preparation grounds that Courts of Appeals, including the District of Columbia Circuit,

have routinely held sufficient to grant continuances and exclude time under the Speedy Trial Act

– and in cases involving far less complexity in terms of the volume and nature of data, and the

number of defendants entitled to discoverable materials. See, e.g., United States v. Bikundi, 926

F.3d 761, 777-78 (D.C. Cir. 2019) (upholding ends-of-justice continuances totaling 18 months in

two co-defendant health care fraud and money laundering conspiracy case, in part because the

District Court found a need to “permit defense counsel and the government time to both produce

discovery and review discovery”); United States v. Gordon, 710 F.3d 1124, 1157-58 (10th Cir.

2013) (upholding ends-of-justice continuance of ten months and twenty-four days in case

involving violation of federal securities laws, where discovery included “documents detailing the


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hundreds of financial transactions that formed the basis for the charges” and “hundreds and

thousands of documents that needs to be catalogued and separated, so that the parties could identify

the relevant ones”) (internal quotation marks omitted); United States v. O’Connor, 656 F.3d 630,

640 (7th Cir. 2011) (upholding ends-of-justice continuances totaling five months and 20 days in

wire fraud case that began with eight charged defendants and ended with a single defendant

exercising the right to trial, based on “the complexity of the case, the magnitude of the discovery,

and the attorneys’ schedules”).

          For the foregoing reasons, the Defendant, through counsel, respectfully requests that this

Court grant the motion for an approximately 30-day continuance of the above-captioned

proceeding, or until the next status hearing set by the Court, and that the Court exclude the time

within which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on

the basis that the ends of justice served by taking such actions outweigh the best interest of the

public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. §

3161(h)(7)(A), (B)(i), (ii), and (iv), and failure to grant such a continuance would result in a

miscarriage of justice.


                                                          FEDERAL DEFENDER’S OFFICE
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                                                          BY: /s/ Christopher J. Nathan
                                                          CHRISTOPHER J. NATHAN
                                                          christopher_nathan@fd.org
              CERTIFICATE OF SERVICE
I hereby certify that on May 18, 2023, I electronically
                                                          ATTORNEY FOR DEFENDANT
filed this document with the Clerk of Court using the
ECF system which will serve it on the appropriate
parties.

                       By: /s/ Chris Nathan




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